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                   EXHIBIT A
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              In Re: National Prescription Opiate Litigation - MDL 2804
                                     PLAINTIFF FACT SHEET FOR
                                     THIRD-PARTY PAYORS (TPPs)

Each Plaintiff should provide the information in this Fact Sheet to the best of its
ability and based on the parties, causes of action, and claims for damages it
expects, at this time, an amended complaint to include. 1

I. PLAINTIFF INFORMATION

               TPP Name: 2
     TPP Principal Place
    of Business Address:
                  Place of
            Incorporation: ________________________________________________________

            IRS Employer Are you a non-profit (or otherwise tax-exempt organization)?
             Identification Yes ___ No ___
            Number (EIN)
                            If yes, please provide your EIN:
                                __________________________________
        Full Case Caption


    Originally filed Case
    Docket Number and
                    Court
              MDL Docket
                 Number


       1. Identify and describe Plaintiff’s ownership and organizational structure, including but not
          limited to whether it is affiliated with or receives funding from any Federal, State,
          political subdivision, county or municipal governments. To the extent that answering this
          question would involve Plaintiff producing voluminous lists of entities that are not

1
 By seeking the information in this Plaintiff Fact Sheet, Defendants do not waive and specifically reserve all
defenses and arguments, including but not limited to, any objections they may have to any complaint amendments
by Plaintiffs. By providing the information in this Plaintiff Fact Sheet, Plaintiff reserves the right to amend its
complaint to add new parties, causes of action, and/or claims, and the right to move to sever and stay its claims
against certain Defendants.
2
    If there are multiple plaintiffs in your case, please provide a fact sheet for each plaintiff.


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     readily accessible, Plaintiff must disclose that they are unable to provide all of the entities
     because it would be unduly burdensome and may limit its response to exemplar years
     2018 and 2019.

  2. Identify any money or recovery Plaintiff has received or Plaintiff is expecting to receive
     from existing opioids-related settlement funds, abatement funds or abatement plans,
     including any Federal, State or local governments or other sources of such funds. This
     does not include any money or recovery received or expected in connection with the
     bankruptcies of Insys, Purdue, Mallinckrodt, or Endo.

  3. For each year in which Plaintiff alleges that it suffered an injury for which it seeks relief,
     briefly describe all categories of benefits, plans or services that Plaintiff offered or
     provided to its members, including beneficiaries and covered spouses/dependents, and for
     each such category identify with particularity what, if any, kind(s) of relief (both
     monetary and non-monetary) Plaintiff is seeking and identify the Defendant(s) against
     which Plaintiff is seeking that relief.

  4. Explain the qualifications that define the Plaintiff’s membership and beneficiary base.

  5. Identify generally the geographic area(s) in which Plaintiff’s members and beneficiaries
     are located (e.g., whether your members and beneficiaries are located in particular states,
     counties, or metropolitan areas) and approximate the relative proportions.

  6. Does Plaintiff pay for all or some of the costs of (1) pharmaceuticals for consumption by
     its members, and/or (2) its members’ health care, including self-funded employer plans,
     managed care organizations, insurance companies, union health and welfare funds/benefit
     plans, HMOs, and PPOs?         Yes ___ No ___ .       If YES:

         a. Please provide the name, address, and date range of services for each pharmacy
            benefits manager (PBM) with which Plaintiff contracted to administer prescription
            pharmacy benefits for each year in which Plaintiff alleges that Plaintiff suffered an
            injury for which Plaintiff seeks relief and the corresponding group number(s) for
            each such PBM. To the extent in the Plaintiff’s possession, please also provide any
            network ID(s), BIN(s), or PCN(s) used by such PBM.

         b. Please provide the name, address, and date range of services for each medical
            benefits administrator with which Plaintiff contracted to administer medical
            benefits for each year in which Plaintiff alleges that Plaintiff suffered an injury for
            which Plaintiff seeks relief and the corresponding group number(s) for each such
            medical benefits administrator. To the extent in the Plaintiff’s possession, please
            also provide any network ID(s), BIN(s), or PCN(s) used by such medical benefits
            administrators.




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II. PRIMARY ATTORNEY CONTACT INFORMATION 3

                   Name:
             Firm Name
          Firm Address:


              Telephone:
                   Email:




III.     PRODUCT INFORMATION
      1. For each drug for which Plaintiff alleges wrongdoing or seeks monetary or non-monetary
         relief, please provide, by NDC, the number of prescriptions submitted to Plaintiff, the
         amount billed, and the amount paid by Plaintiff for each year in which Plaintiff alleges that
         it suffered an injury for which it seeks relief.
         If unable to provide all of the data requested at the time this Fact Sheet is due for purposes
         of bellwether selection, then please provide this information for every year in which the
         data is readily accessible, but at a minimum for each year from January 1, 2018 to
         December 31, 2019.

      2. For all medical services for which Plaintiff alleges wrongdoing or seeks monetary or non-
         monetary relief, please provide the number of claims submitted to Plaintiff, the amount
         billed, and the amount paid by Plaintiff for each year in which Plaintiff alleges that it
         suffered an injury for which it seeks relief.

         If unable to provide all of the data requested at the time this Fact Sheet is due for purposes
         of bellwether selection, then please provide this information for every year in which the
         data is readily accessible, but at a minimum for each year from January 1, 2018 to
         December 31, 2019.

      3. Please provide the formularies or “preferred drug lists” in use for each year in which
         Plaintiff alleges that Plaintiff suffered an injury for which Plaintiff seeks relief.

      4. For each year in which Plaintiff alleges that Plaintiff suffered an injury for which Plaintiff
         seeks relief, did Plaintiff provide coverage to members, including beneficiaries, covered
         spouses/dependents, and/or subscribers for substance abuse disorders and rehabilitation
         services? Yes____ No____

3
  Please provide an addendum identifying all counsel that represents Plaintiff in this litigation, whether or not listed
in your complaint.


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   5. Approximate the number of members, including beneficiaries, covered spouses/dependents
      and subscribers, that Plaintiff covered for each year in which Plaintiff alleges that it
      suffered an injury for which it seeks relief.

   6. Please provide all summary plan description(s) in use for each year in which Plaintiff
      alleges that Plaintiff suffered an injury for which Plaintiff seeks relief.


IV. JURISDICTION & PLEADING INFORMATION
   1. Please confirm that, if selected as a Bellwether Case, Plaintiff will not seek remand to
      any state court. Yes ____ No _____
   2. Please identify the federal district court to which Plaintiff believes its case should be
      remanded for purposes of motions for summary judgment, if any, and trial. If Plaintiff
      contends the case should remain in the Northern District of Ohio for such purposes, please
      provide the factual basis as to why venue is proper there.
   3. Please confirm that, if selected as a Bellwether Case, Plaintiff will proceed in the capacity
      of an individual Plaintiff in the Bellwether Case and not as a class representative.
       Yes ____ No ____
   4. Please identify three or fewer causes of action on which Plaintiff intends to proceed in a
      Bellwether Case (if selected) and for each cause of action identify (a) the Defendant(s)
      against whom Plaintiff will pursue that cause of action; (b) the specific monetary and non-
      monetary relief sought, and (c) whether Plaintiff is bringing that cause of action on behalf
      of its members, including beneficiaries, covered spouses/dependents, and subscribers, or
      in any capacity as a subrogor or an assignee. If bringing any claims as a subrogor or
      assignee, please provide the number and identities of each such subrogee or assignor.


V. CERTIFICATION
I declare under penalty of perjury that all of the information provided in this Plaintiff Fact Sheet
is complete, true, and correct to the best of my knowledge and information.
____________________
Date
 ______________________          _____________________            _____________________
 Signature                       Print Name                       Title




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